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United States District Court

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
TYESHA N. ISOM §
v. ; CIVIL ACTION NO. 3:21-CV-1579-S-BT
EASEWARE TECHNOLOGY :
LIMITED: DRIVER EASY, et al. §

ORDER
The United States Magistrate Judge made findings, conclusions, and a recommendation in
this case. See ECF No. 7. No objections were filed. The Court reviewed the proposed findings,
conclusions, and recommendation for plain error. The Court modifies any references of Plaintiff
as male to female. Finding no other plain error, the Court otherwise ACCEPTS the Findings,
Conclusions, and Recommendation of the United States Magistrate Judge.!
SO ORDERED.

SIGNED October 22, 2021.

 

UNITED STATES DISTRICT JUDGE

 

' The proposed findings, conclusions, and recommendation refer to Plaintiff Tycsha N. Isom as male.
